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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES                                   :
                                                 :
                                                 :
        v.                                       :         Case No. 1:21cr140
                                                 :
 LARRY BROCK,                                    :
                                                 :
        Defendant.                               :


                                    NOTICE OF APPEAL

       Please take notice that the defendant Larry Brock hereby appeals the final order entered in

this case on March 22, 2023 (ECF 98).



                                                            Respectfully submitted,

                                                            By: /s/ Charles Burnham
                                                            Charles Burnham
                                                            D. Md. Bar 12511
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                                CERTIFICATE OF SERVICE

       I certify that I electronically filed the foregoing with the Clerk of Court using the CM/ECF

system, which will send a notification (NEF) to all counsel of record.


                                                            Respectfully submitted,

                                                            By: /s/ Charles Burnham
                                                            Charles Burnham
                                                            D. Md. Bar 12511
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